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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS

 JASON GALLOWAY, individually and on                 Case No. 3:19-cv-00264-NJR-RJD
 behalf of all others similarly situated,
                          Plaintiffs,
     v.
 MARATHON FINANCIAL INSURANCE
 COMPANY, INC.
                          Defendant.



                                  STIPULATION OF DISMISSAL

          Plaintiff Jason Galloway (“Plaintiff” or “Galloway”) and Defendant Marathon Financial

Insurance Company, Inc. (“Defendant” or “Marathon”), through their counsel, stipulate as

follows:

          1.      Plaintiff filed this putative class action against Defendant.

          2.      Fed. R. Civ. P. 41(a)(1)(A)(ii) allows the parties to stipulate to the dismissal of an

action at any time. Rule 23(e) does not limit the right to stipulate to dismissal of this action

because it only applies to certified classes, and no class has been certified in this matter.

Likewise, the case does not involve any Receiver so as to implicate Rule 66.

          Accordingly, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff and Defendant agree

that the action shall be dismissed in its entirety and without prejudice with respect to the claims

alleged by Plaintiff against Defendant.

          Plaintiff and Defendant further agree that each party is to bear his or its own attorney’s

fees and costs.
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                                CERTIFICATE OF SERVICE
       I certify that on May 8, 2019, I filed this document with the Clerk of Court using
CM/ECF, which will serve this document on all counsel of record.


                                             s/ Patrick H. Peluso




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